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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In re: OILSPILL by the Oil rig              *   MDL NO. 2179
        “Deepwater Horizon: in the          *
        Gulf of Mexico, on April 20, 2010"  *
                                            *
IN RE: TRITON ASSET LEASING                 *
 GmbH, et al                                *   SECTION "J"
                                            *
                                            *   JUDGE BARBIER
This Document relates to Pleading Bundle C, *
                                            *   MAG. JUDGE SHUSHAN
             2:11:CV-00348                  *
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                                             ORDER
.
       Upon the foregoing motion, Plaquemines Parish School Board is given leave to file its

Memorandum in Opposition to PSC’s Request for Court Supervised Account and Reserve for

Common Benefit Litigation Expenses.



       New Orleans, Louisiana, this _____________ day of _______________, 2011.



                                             _________________________________________
                                                   DISTRICT JUDGE
